 1   Lewis Phon, Bar Number 74907
     Law Offices of Lewis Phon
 2   4040 Heaton Court
     Antioch, CA 94509
 3
     (415) 574-5029 tel
 4   (925) 706-7600 fax

 5   Attorney for the Defendant
     Mario Roberto Juarez
 6

 7

 8

 9
                           UNITED STATES BANKRUPTCY COURT
10
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
     In re:                                      CASE NO: 13-40355 RLE
12
                                                 Adversary No. 13-04087
13
     MARIO ROBERTO JUAREZ,                       CHAPTER 13
14
                   DEBTOR,
15                                              NOTICE OF PROPOSED SETTLEMENT
                                                TERMS BY DEBTOR WITH PLAINTIFF,
16                                              CARLOS MADRIGAL

17

18

19   ____________________________/
20
     Carlos Madrigal,
21

22          Plaintiff,

23     V.

24   Mario Roberto Juarez,

25         Defendant.
     ____________________________/
26


Case: 13-04087   Doc# 57   Filed: 06/16/14   Entered: 06/16/14 23:32:06   Page 1 of 7
                                               1
 1   Please take notice that the attached proposed settlement agreement incorporates the proposed

 2   settlement terms offered by the debtor to settle the plaintiff’s suit pursuant to the tentative settlement

 3   agreement reached with the plaintiff on May 19, 2014.

 4   Also, attached is a true copy of the agreement signed by Kathy Neal stating that she will not require

     repayment of her loan to the debtor to fund this settlement until after this Chapter 13 case has been
 5
     dismissed, closed or completed.
 6

 7
                                                       /s/ Lewis Phon
 8   Dated: 6/16/14                                   _________________________________________
                                                         Lewis Phon, attorney for debtor, Mario Juarez
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


Case: 13-04087     Doc# 57      Filed: 06/16/14      Entered: 06/16/14 23:32:06          Page 2 of 7
                                                       2
                                 SETTLEMENT AGREEMENT

Whereas, plaintiff, Carlos Madrigal, filed an adversary proceeding, case number, 13-040487, in

the United States Bankruptcy Court, the Northern District of California, against defendant, Mario

Juarez, for non-dischargeability of a debt based upon fraud, the defendant having denied that

there was any fraud related to the claim,

Whereas, the parties wish to resolve the plaintiff’s claim without further litigation,

Wherefore, it is hereby agreed as follows:

1.     The defendant shall pay the sum of $50,000 to the plaintiff by delivering a cashier’s

       check in the amount of $30,000 made payable to James Martinez and Carlos Madrigal by

       Friday, May 23, 2014. The money will be held in Mr. Martinez’s client trust account

       until this settlement has been approved by the court.

2.     The defendant shall deliver a second cashier’s check in the amount of $20,000 made

       payable to James Martinez and Carlos Madrigal by Friday, June 6, 2014. The money will

       be held in Mr. Martinez’s client trust account until this settlement has been approved by

       the court.

3.     Upon approval of this settlement by the court, the plaintiff shall dismiss with prejudice

       the entire action against defendant.

4.     The parties agree that this is a disputed claim. By paying this settlement, the defendant

       does not admit to any wrongdoing nor to any act of fraud on his part in relation to

       plaintiff’s claim.

5.     The parties agree that upon the filing of the suit against the debtor, plaintiff may have

       communicated to others the nature of his claim and the allegations contained in the

       complaint. However, since that time, no trial has been completed nor has judgment been



Case: 13-04087       Doc# 57     Filed: 06/16/14      Entered: 06/16/14 23:32:06         Page 3 of 7
      rendered in this case. Therefore, from this point forward, plaintiff shall not claim to

      others that the debtor had settled with him because the debtor had committed fraud.

      Similarly, by accepting this settlement, the plaintiff will not infer nor relay to others,

      including but not limited to the California Department of Real Estate, that there was any

      finding of fraud by the court against the debtor. In the event that plaintiff violates this

      provision, plaintiff will be liable to defendant for such damages as defendant may prove.

6.    Defendant intends to borrow the $50,000 from a colleague, Kathy Neal, to pay for this

      settlement. Defendant will have to repay this money back.         However, since the source

      of the funds for the settlement will allow defendant to wait until his Chapter 13 case is

      completed, closed or dismissed before repayment of the loan is required, defendant will

      be repaying the loans from non-estate funds and approval of the borrowing will not be

      necessary. In such case, the defendant will prepare a declaration from Mrs. Neal that she

      will not require repaying of her loan until after the Chapter 13 case has been closed,

      dismissed or completed and defendant will request the court approve the settlement only.

7.    Reasonable attorney fees will be awarded to the prevailing party in the event this

      agreement is breached.

8.    Subject to the approval of the court, the bankruptcy court shall retain jurisdiction over

      this settlement to enforce the terms of the settlement.



Date: ___________                            _______________________________
                                             Carlos Madrigal

Date: ___________                            _______________________________
                                             James Martinez, Attorney for Carlos
                                             Madrigal




Case: 13-04087      Doc# 57     Filed: 06/16/14      Entered: 06/16/14 23:32:06         Page 4 of 7
Date: ___________                       _______________________________
                                         Mario Juarez

Date: ___________                       _______________________________
                                         Lewis Phon, Attorney for Mario Juarez




Case: 13-04087      Doc# 57   Filed: 06/16/14   Entered: 06/16/14 23:32:06       Page 5 of 7
Case: 13-04087   Doc# 57   Filed: 06/16/14   Entered: 06/16/14 23:32:06   Page 6 of 7
 1
                                  PROOF OF SERVICE
 2
               I am employed in the County of Contra Costa,
 3   State of California. I am over the age of 18 and not a party to the
     within action. My business address is 4040 Heaton Court, Antioch,
 4   California 94509.

               On June 16, 2014, I served the foregoing document(s)
 5   described as Notice of Proposed Settlement Terms with plaintiff in
     said action by causing a true copy thereof enclosed in an envelope
 6   addressed and delivered to the attorney (s) of record whose name(s)
     and address(es) appear below or caused an electronic transmission
 7   to their email address:

 8   Office of the U.S. Trustee
     1301 Clay Street, Suite 690N
 9   Oakland, CA 94612
     by email to email address:
10   USTPRegion17.OA.ECF@usdoj.gov

11   Martha Bronitsky
     Chapter 13 Trustee
     P.O. Box 9077
12   Pleasanton, CA 94566
     by email to email address:
13   13trustee@oak13.com
14   Sally J. Elkington
     Elkington Law
15   409 - 13th Street, 10th Floor
     Oakland, California 94612
16   by email to email address:
     sally@elkingtonlaw.com
17
     James Martinez, Esq.
18   Law Offices of James Martinez
     2340 Powell Street, #317
     Emeryville, CA 94608
19   by email to email address:
     jamesmlaw@att.net
20   and jM@jamesmlaw.net
21   x
     __         (BY PERSONAL SERVICE) I caused such envelope to be
22        delivered by hand to the offices of the address(s).

23   I declare under penalty of perjury under the laws of the State of
     California and of the United States that the above is true and
24   correct. Executed on June 16, 2014 at Antioch, California.

25                                                        /s/ Lewis Phon
            Lewis Phon                            ___________________________
     Print or Type Name                                     Signature
26


Case: 13-04087    Doc# 57    Filed: 06/16/14   Entered: 06/16/14 23:32:06   Page 7 of 7
                                                 3
